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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


CONVENTION OF STATES ACTION,

       Plaintiff,

v.

WILLIAM F. GALVIN, in his official
capacity as Secretary of the Commonwealth of             Civil Action No. 1:21-cv-12137
Massachusetts,

and

MARIE D. MARRA, in her official capacity
as Director of the Lobbyist Division for the
Secretary of the Commonwealth,

       Defendants.


                    PLAINTIFF CONVENTION OF STATES ACTION’S
                         RULE 7.1 DISCLOSURE STATEMENT

       Pursuant to Fed. R. Civ. P. 7.1, Plaintiff Convention of States Action (“COSA”), a

501(c)(4) non-profit organization based in Houston, Texas, respectfully affirms that:

        1. Plaintiff does not have a parent corporation; and

        2. No publicly held corporation owns 10% or more of COSA’s stock.


Dated: December 28, 2021                     Respectfully submitted,
                                             ASHCROFT LAW FIRM

                                             /s/ Michael J. Sullivan
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                           GRAVES GARRETT, LLC
                           /s/ Edward D. Greim
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                           *Pro Hac Vice Application Forthcoming

                           Counsel for Plaintiff Convention of States Action
